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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
CHRIS WATKINS, ERIC DAY, GLOBAL     )
LEASE GROUP INC., PRUDHVI           )
SAMUDRALA, WILLIAM WILSON, KAREN    )
KYUTUKYAN, RAJEEV TALREJA, GIORGIO )
PETRUZZIELLO, DREW TALREJA, KRIS    )
NATHAN, EDUARD CHENETTE, WALID      )
WASSIR, and VARSHA LAUTHRA, on      )
behalf of themselves and all        )         Civil Action
others similarly situated,          )         No. 24-cv-11384-PBS
                                    )
                    Plaintiffs,     )
                                    )
v.                                  )
                                    )
ELON R. MUSK, individually and in )
his capacity as Trustee of the      )
ELON MUSK REVOCABLE TRUST DATED     )
JULY 22, 2003,                      )
                                    )
                    Defendants.     )
                                    )

                        MEMORANDUM AND ORDER

                             June 12, 2025

Saris, D.J.

                             INTRODUCTION

     Plaintiffs are purchasers of electric vehicles (“EVs”) sold

by Telsa, Inc. (“Telsa”). They bring this putative class action

lawsuit seeking damages for alleged misrepresentations made by

both Tesla and its Chief Executive Officer (“CEO”) Elon R. Musk

about the driving ranges of the company’s EVs. Plaintiffs assert

consumer protection claims under various state statutes and common

law claims of fraud and unjust enrichment.

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     When purchasing their EVs, Plaintiffs agreed to arbitrate

disputes with Tesla. Rather than name Telsa as a defendant in this

action, Plaintiffs have sued Musk both in his individual capacity

and in his capacity as trustee of his personal revocable trust,

the Elon Musk Revocable Trust Dated July 22, 2003 (“Musk Trust”).

     Musk now moves to dismiss the claims against him in both

capacities for lack of standing under Federal Rule of Civil

Procedure 12(b)(1). In the alternative, he seeks orders compelling

Plaintiffs to arbitrate their claims against him individually

pursuant to the Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 1-

16, and dismissing their claims against him in his capacity as

trustee of the Musk Trust for lack of personal jurisdiction under

Federal Rule of Civil Procedure 12(b)(2). Finally, he moves to

dismiss all claims against him for failure to state a claim under

Federal Rule of Civil Procedure 12(b)(6).

     After hearing, the Court ALLOWS IN PART and DENIES IN PART

Musk’s motions to dismiss for lack of standing (Dkt. 44 and 46),

ALLOWS Musk’s motion to compel arbitration of the claims against

him individually (Dkt. 48), ALLOWS Musk’s motion to dismiss the

claims against him as trustee of the Musk Trust for lack of

personal jurisdiction (Dkt. 46), and DENIES as moot Musk’s motions

to dismiss for failure to state a claim (Dkts. 44 and 46).




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                                     BACKGROUND

     The Court takes the following facts from Plaintiffs’ amended

complaint and other evidentiary materials submitted by the parties

in connection with the motions to dismiss for lack of standing and

personal    jurisdiction       and    to   compel    arbitration.            See,    e.g.,

Rosenthal v. Bloomingdales.com, LLC, 101 F.4th 90, 93 (1st Cir.

2024); Air-Con, Inc. v. Daikin Applied Latin Am., LLC, 21 F.4th

168, 171 n.1 (1st Cir. 2021).

I.   Scheme to Misrepresent Tesla Vehicle Ranges

     Driving     ranges   are    an    important        factor     in    a   consumer’s

decision to buy an EV, and EVs with longer ranges sell for a

premium. Most consumers will not consider buying an EV with a range

below 300 miles per charge. The U.S. Environmental Protection

Agency    (“EPA”)   has   promulgated          regulations      governing       how      car

manufacturers estimate fuel economy and driving ranges for EVs and

what information is displayed on fuel economy labels. See, e.g.,

40 C.F.R. §§ 600.210-12, .310-12, .311-12.

     Few, if any, Tesla EVs hit the 300-mile metric in real-world

driving    conditions.        Plaintiffs       allege    that       Musk     and     Tesla

misrepresented the driving ranges of Tesla EVs in order to sell

more cars. Plaintiffs also allege that many of the inflated driving

ranges    that   Musk   and    Tesla   promoted      did     not    conform         to   EPA

estimates.



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     A.    Misrepresentations About Driving Ranges

     Tesla spends little on traditional advertising. Instead, Musk

has “used the global influence of his own persona as the primary

source of Tesla’s marketing,” Dkt. 40 ¶ 40, including via his

widely followed account on X (formerly known as Twitter).

     Musk has made various false statements about the driving

ranges of Tesla EVs on his X account. For example, on May 18, 2018,

Musk posted falsely that the “Tesla dual motor, all-wheel drive

performance Model 3” had a “310 mile Range.” Id. ¶ 48. In February

2020, Musk linked to a Consumer Reports article and stated that

the “Model 3 achieves 350 mile actual range vs. 310 EPA sticker in

Consumer Reports testing.” Id. ¶ 49 (emphasis omitted). However,

Consumer Reports reported that it achieved the 350-mile range only

in a Model 3 Long Range and only using abnormal driving behavior.

In March 2022, Musk referenced Tesla’s “400+ mile range car” in an

X post even though no Tesla EV had such a range. Id. ¶¶ 52-53.

     Musk made similar false statements about Tesla EVs’ driving

ranges in other public settings. When Musk introduced Tesla’s Model

Y in 2019, he claimed that the vehicle had “an actual true usable

range of 300 miles.” Id. ¶ 58. In an April 2020 corporate earnings

call, he stated that “the real Model S range is 400 miles.” Id.

¶ 57. Neither vehicle has an actual driving range as long as Musk

claimed.



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     At Musk’s direction, Tesla reported inflated driving ranges

too. In February 2019, Tesla tweeted ranges for various iterations

of the Model 3 without referring to EPA estimates. Tesla’s website

listed inflated ranges for the Model S, Model 3, and Model X that

also were not qualified as EPA estimates. Tesla falsely indicated

on its website that a Model S could make the 383-mile trip from

San Francisco to Los Angeles on a single charge.

     Some pages on Tesla’s website do reference EPA estimates for

driving ranges. For example, in May 2021, Tesla added a label to

the 353-mile range on the Model 3’s webpage that designated the

figure as an EPA estimate. Elsewhere on the same page, however,

Tesla claimed that a driver could “[g]o anywhere with up to 353

mi[les] of estimate range on a single charge.” Id. ¶ 92. Moreover,

Musk and Tesla did not disclose that the driving ranges they

advertised were unachievable in real-world driving conditions and

were drastically reduced in certain common weather conditions.

     B.   Rigging of Dashboard         Range   Meters   and   Response     to
          Customer Complaints

     Plaintiffs also allege that Tesla acted at Musk’s direction

to bolster the exaggerated claims about its EVs’ driving ranges.

First, Musk instructed Tesla engineers to alter the software

controlling the cars’ dashboard meters, which show how far the

vehicle can travel on the remaining battery charge, to display

inflated driving ranges. Second, Musk implemented a procedure for


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answering customer complaints about vehicle driving ranges. When

a customer scheduled a service appointment, Tesla conducted a

“remote diagnostic” and, whatever the result, told the customer

that the vehicle was working properly. The employee also informed

the customer that the stated range was a prediction rather than an

actual measurement and, inaccurately, that a naturally degrading

battery was the cause of the range issue.

       C.    Reports of Inflated Driving Ranges

       Many owners of Tesla EVs have complained online that their

vehicles did not have the driving ranges that were advertised and

that their dashboard range meters were inaccurate. In January 2023,

the Society of Automotive Engineers released a report concluding

that Tesla’s advertised driving ranges were overstated by an

average of 26%. The same year, the South Korean government fined

Tesla for inflating its EVs’ ranges, among other misconduct. In

January 2024, Tesla reduced the advertised ranges for most of its

EVs and released a software update that lowered the ranges listed

on the meters in many of its vehicles. Plaintiffs allege that even

these reduced figures misrepresent the driving ranges of Tesla’s

EVs.

II.    The Musk Trust and Musk’s Ownership of Tesla Stock

       Musk, a Texas citizen, is both Tesla’s CEO and its largest

shareholder. Over the past five years, he has been the beneficial

owner of between 20.5% and 23.5% of Tesla stock. Plaintiffs allege

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that all of Musk’s Tesla stock is held by the Musk Trust and that

Musk is the trust’s sole trustee. 1

     As both Tesla’s CEO and its largest shareholder, Musk wields

significant control over the company. Musk used this control to

direct Tesla to misrepresent the driving ranges of its EVs and to

manipulate the range meters in its vehicles. Tesla stock increased

in value due to Musk’s scheme, thereby enriching the Musk Trust.

III. Plaintiffs’ Tesla Purchases and Arbitration Agreements

     Plaintiffs are twelve individuals and one company that all

bought iterations of Tesla’s Model X, Model Y, or Model 3 between

2018 and 2024. They made their purchases in California, Florida,

Illinois, Kentucky, Maine, Massachusetts, Michigan, New Hampshire,

New Jersey, New York, Pennsylvania, or Washington. Plaintiffs

allege that their EVs’ driving ranges are “far less than [the]

advertised range and far less than the range displayed on the range

meter when fully charged.” Id. ¶¶ 121-33. They also allege that

they would not have purchased the vehicles, or would have paid

less, had they known that the advertised driving ranges were

exaggerated and that the range meters were manipulated.




1 Plaintiffshave also submitted securities filings indicating that
Musk’s beneficial ownership of Tesla stock includes both shares
held by the Musk Trust and shares issuable to Musk upon his
exercise of options. The exact percentage of Tesla stock held by
the Musk Trust is not relevant for present purposes.
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     When Plaintiffs bought their EVs, they all entered into either

a Motor Vehicle Order Agreement (“Order Agreement”) or a Motor

Vehicle    Purchase    Agreement     (“Purchase      Agreement”).       These

agreements contain arbitration clauses that read in relevant part

as follows:

     Please carefully read this provision, which applies to
     any dispute between you and Tesla, Inc. and its
     affiliates[] (together “Tesla”).

     If you have a concern or dispute, please send a written
     notice describing it and your desired resolution to
     resolutions@tesla.com.

     If not resolved within 60 days, you agree that any
     dispute arising out of or relating to any aspect of the
     relationship between you and Tesla will not be decided
     by a judge or jury but instead by a single arbitrator in
     an arbitration administered by the American Arbitration
     Association (AAA) under its Consumer Arbitration Rules.
     This includes claims arising before this Agreement, such
     as claims related to statements about our products.

Dkt. 50-1 at 4. The agreements also provide that their “terms . . .

are governed by, and to be interpreted according to, the laws of

the State in which we are licensed to sell motor vehicles that is

nearest to [the purchaser’s] address.” Id.

                               DISCUSSION

I.   Article III Standing

     The Court begins with Musk’s arguments concerning Plaintiffs’

Article III standing to bring this lawsuit, a threshold matter

that implicates subject matter jurisdiction. See Dantzler, Inc. v.

Empresas Berríos Inventory & Operations, Inc., 958 F.3d 38, 46


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(1st Cir. 2020); see also Hines v. Stamos, 111 F.4th 551, 563-66

(5th Cir. 2024) (holding that courts cannot compel arbitration

before addressing their jurisdiction); Reading Health Sys. v. Bear

Stearns & Co., 900 F.3d 87, 95-96 (3d Cir. 2018) (same). 2

     A.      Legal Standard

     Under    Article   III’s    case-or-controversy       requirement,       the

plaintiff must possess standing to bring his lawsuit, i.e., “a

‘personal stake’ in the case.” TransUnion LLC v. Ramirez, 594 U.S.

413, 423 (2021) (quoting Raines v. Byrd, 521 U.S. 811, 819 (1997)).

The plaintiff bears the burden of establishing standing. See id.

at 430-31. To meet this burden, he “must show (i) that he suffered

an injury in fact that is concrete, particularized, and actual or

imminent; (ii) that the injury was likely caused by the defendant;

and (iii) that the injury would likely be redressed by judicial

relief.” Id. at 423.

     “A plaintiff must demonstrate standing ‘with the manner and

degree of evidence required at the successive stages of the

litigation.’” Id. at 431 (quoting Lujan v. Defs. of Wildlife, 504

U.S. 555, 561 (1992)). Thus, at the motion-to-dismiss stage, courts

generally credit all well-pleaded facts in the complaint and ask




2 Musk frames his argument that Plaintiffs’ claims are preempted
by federal law as one that also concerns this Court’s jurisdiction.
“Ordinary preemption” of the sort that Musk raises is, however, a
defense to the merits of a claim. Rhode Island v. Shell Oil Prods.
Co., 35 F.4th 44, 52 n.4 (1st Cir. 2022).
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whether the plaintiff has plausibly alleged the three elements of

standing. See In re Fin. Oversight & Mgmt. Bd. of P.R., 110 F.4th

295, 308 (1st Cir. 2024). That said, a defendant may use a Rule

12(b)(1) motion to launch a “factual challenge” to the court’s

subject matter jurisdiction that contests “the accuracy (rather

than the sufficiency) of jurisdictional facts asserted by the

plaintiff.” Valentin v. Hosp. Bella Vista, 254 F.3d 358, 363 (1st

Cir. 2001). When the defendant raises a factual challenge, courts

may consider extrinsic evidence submitted by the parties and

resolve disputed facts relevant to the jurisdictional inquiry. See

Toddle Inn Franchising, LLC v. KPJ Assocs., LLC, 8 F.4th 56, 61

n.5 (1st Cir. 2021); Valentin, 254 F.3d at 363.

      B.    Plaintiff Varsha Luthra

      Musk first argues that one named plaintiff -- Varsha Luthra

--   has   not   suffered   an    injury    in   fact    because    she   did     not

personally purchase a Tesla EV. According to an affidavit from a

Tesla employee, a search of information associated with Luthra

yielded Order and Purchase Agreements only in the names of Tauseef

Butt and Life Sensors Inc. See Dkt. 50 ¶¶ 2, 19. In response,

Plaintiffs rely solely on the amended complaint’s allegation that

Luthra “purchased a Tesla vehicle with her husband in 2023.” Dkt.

40 ¶ 24.

      When, as here, a party brings a factual challenge to subject

matter jurisdiction, a court “need not accept the plaintiff’s

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allegations as true but can ‘weigh the evidence and satisfy itself

as to the existence of its power to hear the case.’” Toddle Inn

Franchising, LLC, 8 F.4th at 61 n.5 (quoting Torres-Negrón v. J &

N Recs., LLC, 504 F.3d 151, 162 (1st Cir. 2007)). Plaintiffs have

not submitted evidence to rebut the affidavit from Tesla indicating

that Luthra did not personally purchase a Tesla vehicle. Nor have

Plaintiffs advanced any argument that Luthra has suffered an injury

in fact even if she did not make the purchase herself. Luthra’s

claims are therefore dismissed for lack of standing. Cf. Sasso v.

Tesla, Inc., 584 F. Supp. 3d 60, 69 (E.D.N.C. 2022) (dismissing an

individual’s claims regarding a malfunction with a Tesla vehicle

for lack of standing because the vehicle was purchased by the

individual’s company rather than by the individual himself).

     C.   Causation

     Musk also contends that all but one of the remaining named

plaintiffs lack standing because, according to their Order and

Purchase Agreements, they did not buy the specific EV model

configurations that were the subjects of Musk’s and Tesla’s alleged

misrepresentations about driving ranges. In Musk’s view, this

mismatch means that the misrepresentations did not cause any of

Plaintiffs’ injuries.

     Musk’s argument is unpersuasive. Contrary to Plaintiffs’

contention, the Court can consider the extrinsic evidence of which

EV model configuration each named plaintiff purchased because Musk

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is raising a factual challenge to standing. That evidence, however,

does not fatally undermine Plaintiffs’ standing to sue.

        Plaintiffs all purchased configurations of Tesla’s Model 3,

Model       X,     or    Model   Y    EVs.   The    amended    complaint      includes

representations made by Musk or Tesla about the driving ranges of

those three models generally. See Dkt. 40 ¶¶ 49, 58, 64-65. It

also        describes       similar        representations      about      particular

configurations of those models, such as the Model Y Long Range

Single Motor and the Model 3 Standard Range Plus. See id. ¶¶ 51,

68.    At    this       stage,   it   is   plausible   that   Musk’s    and    Tesla’s

statements about the Model 3, Model X, and Model Y -- and about

specific configurations of those EVs -- would be understood as

representations about the configurations Plaintiffs purchased. For

example, the Twitter post about the range of the Model 3 Standard

Range       Plus    plausibly     conveyed    information     about     the   Model   3

Standard Range Plus Rear-Wheel Drive configuration purchased by

Plaintiff Rajeev Talreja. See Dkt. 50-7 at 2. Moreover, the amended

complaint plausibly alleges a scheme to promote false driving

ranges for all Tesla EVs, with examples of misrepresentations about

numerous models and configurations. Either way, it is reasonable

to infer that these misrepresentations inflated the prices of the

EVs Plaintiffs purchased, causing a cognizable injury in the form

of overpayment. See In re Evenflo Co., Inc., Mktg., Sales Pracs.

& Prods. Liab. Litig., 54 F.4th 28, 35, 40 (1st Cir. 2022)

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(explaining that the First Circuit “has repeatedly recognized

overpayment as a cognizable form of Article III injury” and

accepting at the pleadings stage the “reasonable inference” that

if the defendant had not made false marketing claims, “the product

would have commanded a lower price, allowing the plaintiffs to pay

less for it”); Katz v. Pershing, LLC, 672 F.3d 64, 77 (1st Cir.

2012) (“[T]he causation requirement is usually satisfied when a

consumer       purchases   a    falsely   advertised    product    because      the

defendant’s misrepresentations would have artificially inflated

the price paid by the consumer.”).

        In his final argument regarding standing, Musk contends that

Plaintiffs lack a personal stake in raising claims concerning the

dashboard range meters in Tesla vehicles that purportedly depict

fictitious driving ranges. He argues that Plaintiffs’ alleged

injuries arose from the purchase of their vehicles and that these

range meters, which Plaintiffs saw only after their purchases,

could    not    have   caused    those    injuries.    The   amended   complaint

alleges, however, that Musk directed the rigging of the range

meters to cover up the misstatements he and Tesla made about

driving ranges. That cover-up, in turn, allowed Tesla to continue

to charge artificially higher prices for its vehicles. Plaintiffs

therefore plausibly allege that the rigging of the range meters

was part of a fraudulent scheme that caused them to overpay for

their Tesla vehicles.

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II.     Motion to Compel Arbitration

        The Court next turns to Musk’s motion to compel arbitration.

Musk seeks to compel arbitration only with regard to the claims

brought against him individually and not those brought against him

in his capacity as trustee of the Musk Trust.

        A.     Legal Standard

        The FAA “‘commands that district courts ordinarily apply the

summary-judgment standard’ in adjudicating a motion to compel

arbitration.”      Aldea-Tirado v.        PricewaterhouseCoopers,        LLP,     101

F.4th    99,    103   (1st   Cir.    2024)     (quoting    Rodríguez-Rivera v.

Allscripts Healthcare Sols., Inc., 43 F.4th 150, 168 (1st Cir.

2022)). Under this standard, “courts must review the record in the

light    most    favorable     to   the   non-moving      party   and    draw     all

reasonable inferences in that party’s favor.” Id. In conducting

this inquiry, a court may consider both the allegations in the

complaint and any evidence submitted by the parties. See Air-Con,

Inc., 21 F.4th at 171 n.1; McKenzie v. Brannan, 19 F.4th 8, 10 n.1

(1st Cir. 2021).

        Under the FAA, an arbitration agreement “shall be valid,

irrevocable, and enforceable, save upon such grounds as exist at

law or in equity for the revocation of any contract.” 9 U.S.C.

§ 2. This provision reflects “a liberal federal policy favoring

arbitration.” Rodríguez-Rivera, 43 F.4th at 167 (quoting Rivera-

Colón v. AT&T Mobility P.R., Inc., 913 F.3d 200, 207 (1st Cir.

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2019)). “Thus, courts must ‘treat arbitration as “a matter of

contract” and enforce agreements to arbitrate “according to their

terms.”’” Aldea-Tirado, 101 F.4th at 103 (quoting Air-Con, Inc.,

21 F.4th at 174).

       Nonetheless, “[p]arties are not obligated to arbitrate . . .

‘when they have not agreed to do so.’” Id. (quoting Rivera-Colón,

913 F.3d at 207). It follows that “[t]he court’s first step in

determining whether to compel arbitration is to identify a valid

and enforceable agreement to arbitrate between the parties.” Air-

Con,     Inc.,   21   F.4th     at   174.    “The     party    seeking    to       compel

arbitration      bears   the    burden      of    demonstrating      ‘that     a   valid

agreement to arbitrate exists, that the movant is entitled to

invoke the arbitration clause, that the other party is bound by

that clause, and that the claim asserted comes within the clause’s

scope.’” Id. (quoting Soto-Fonalledas v. Ritz-Carlton San Juan

Hotel Spa & Casino, 640 F.3d 471, 474 (1st Cir. 2011)). If the

movant satisfies this burden, “the court has to send the dispute

to     arbitration       ‘unless      the        party    resisting      arbitration

specifically challenges the enforceability of the arbitration

clause itself . . . or claims that the agreement to arbitrate was

never concluded.’” Barbosa v. Midland Credit Mgmt., Inc., 981 F.3d

82, 87 (1st Cir. 2020) (quoting Biller v. S-H OpCo Greenwich Bay

Manor, LLC, 961 F.3d 502, 508 (1st Cir. 2020)).



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       B.    Musk’s Ability to Enforce the Arbitration Clauses

       Plaintiffs do not dispute that they executed valid Order and

Purchase Agreements with Tesla containing binding arbitration

clauses or that their claims fall within the scope of those

clauses. Thus, the arbitrability of Plaintiffs’ claims against

Musk     individually     reduces   to     one     issue:     whether    Musk,    a

nonsignatory, is entitled to invoke the arbitration clauses in the

contracts between Plaintiffs and Tesla. 3

       The fact that a party is not a signatory to the contract

containing     the   arbitration    clause       “is   not   in   and   of   itself

dispositive” as to whether that party can force a signatory to

arbitrate his or her claims. Id. at 88. “While in general a

contract cannot bind a non-party, there are exceptions allowing

non-signatories to compel arbitration and a non-signatory may be

bound by or acquire rights under an arbitration agreement under

ordinary state-law principles of agency or contract.” Id. (cleaned


3 The agreements signed by certain named plaintiffs contain
arbitration clauses that expressly provide that courts are to
decide disputes over arbitrability. See, e.g., Dkt. 50-2 at 4. The
arbitration clauses in the remaining agreements provide that
arbitration will be “administered by the American Arbitration
Association (AAA) under its Consumer Arbitration Rules.” E.g.,
Dkt. 50-1 at 4. As Musk explains in his brief, the First Circuit
has treated incorporation of the AAA rules to evince a clear and
unmistakable intent to delegate disputes over arbitrability to the
arbitrator. See Toth v. Everly Well, Inc., 118 F.4th 403, 414 (1st
Cir. 2024). At the motion hearing, however, Musk expressly waived
any argument that the arbitrator, rather than the Court, should
decide whether he can enforce the arbitration clauses as a
nonsignatory. See Dkt. 76 at 28-29.
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up).    Such    principles        include     agency,      equitable      estoppel,      and

third-party beneficiary. See Ouadani v. TF Final Mile LLC, 876

F.3d 31, 37 (1st Cir. 2017).

       Musk raises three theories as to why he can compel arbitration

despite not being a signatory to the Order and Purchase Agreements:

1) he is an “affiliate” of Tesla covered by the arbitration

agreements; 2) he is an agent of Tesla; and 3) Plaintiffs are

equitably estopped from arguing that they need not arbitrate their

claims against him. The Court agrees with Musk’s first and second

theories and, thus, need not address the third.

               1.     “Affiliate” of Tesla

       Musk contends that he is entitled to compel Plaintiffs to

arbitration because the arbitration clauses at issue “appl[y] to

any dispute between [the purchasor] and Tesla, Inc. and its

affiliates.” Dkt. 50-1 at 4 (emphasis added). Musk asserts that he

is an “affiliate” of Tesla because he is the company’s CEO.

       At its core, this argument asserts that Musk is a third-party

beneficiary of the arbitration agreements. To determine if a

nonsignatory         qualifies      as    a    third-party        beneficiary      of    an

arbitration agreement, courts “look[] to the parties’ intentions

at the time the contract was executed.” Ouadani, 876 F.3d at 39.

The nonsignatory “must demonstrate with ‘special clarity that the

contracting parties intended to confer a benefit on him.’” Hogan v.

SPAR    Grp.,       Inc.,   914    F.3d   34,      39    (1st    Cir.    2019)   (quoting

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McCarthy v. Azure, 22 F.3d 351, 362 (1st Cir. 1994)); see Landry v.

Transworld Sys. Inc., 149 N.E.3d 781, 788 (Mass. 2020) (“Under

Massachusetts       law,    a      nonsignatory         seeking     to     enforce       an

arbitration agreement as a third-party beneficiary must point to

clear and definite evidence of the parties’ intent that it benefit

from the provision.” (cleaned up)).

     Musk unambiguously qualifies as an “affiliate” of Tesla.

Courts interpret undefined terms in a contract using “their plain

and ordinary meaning.” Easthampton Congregational Church v. Church

Mut. Ins. Co., 916 F.3d 86, 93 n.4 (1st Cir. 2019). While the term

“affiliate” refers only to business entities in some contexts,

see, e.g., 15 U.S.C. § 6809 (defining “affiliate” as “any company

that controls, is controlled by, or is under common control with

another company” for purposes of statutes regulating financial

institutions’    disclosure         of   customers’       personal       information);

Affiliate,    Black’s      Law     Dictionary     (11th       ed.   2019)      (defining

“affiliate”    as    “[a]       corporation      that    is   related       to    another

corporation    by       shareholdings     or     other     means      of    control;      a

subsidiary,     parent,      or     sibling      corporation”),          the     term    is

ordinarily used to mean a person or organization associated with

another,   often     via    a     control-based      relationship.          See,    e.g.,

Affiliate,    The       American    Heritage      Dictionary        of     the    English

Language 29 (4th ed. 2000) (defining “affiliate” as “[a] person,

organization,      or    establishment         associated      with      another    as    a

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subordinate, subsidiary, or member”); Iqbal v. Ziadeh, 215 Cal.

Rptr. 3d 684, 690-91 (Cal. Ct. App. 2017) (surveying dictionary

definitions and concluding that “the common meaning of an affiliate

generally is one who is dependent upon, subordinate to, an agent

of, or part of a larger or more established organization or

group.”). 4 Under this customary definition, Musk is an affiliate

of Tesla because he is the company’s CEO. See PWP Xerion Holdings

III LLC v. Red Leaf Res., Inc., No. 2017-0235-JTL, 2019 WL 5424778,

at *8 (Del. Ch. Oct. 23, 2019) (“As customarily interpreted, an

officer or director of an entity is affiliated with that entity.”).

     Plaintiffs respond that the Order and Purchase Agreements

incorporate a definition of the term “affiliate” that excludes

Musk. Plaintiffs point out that each agreement states that “Tesla’s

Customer   Privacy    Policy . . .      [is]   incorporated      into       this

Agreement,” Dkt. 50-1 at 4, and that the privacy policy includes

a “description” of the term “[a]ffiliates and subsidiaries” as

encompassing “[c]ompanies that are owned or controlled by Tesla,

or where [Tesla] ha[s] a substantial ownership interest,” Dkt. 58-

1 at 21. That description, however, is in a part of the privacy




4 Like The American Heritage Dictionary of the English Language,
Merriam-Webster defines “affiliate” as “an affiliated person or
organization,” Affiliate, Merriam-Webster’s Collegiate Dictionary
21 (11th ed. 2020), and “affiliated” as “closely associated with
another typically in a dependent or subordinate position,”
Affiliated, Merriam-Webster’s Collegiate Dictionary 21 (11th ed.
2020).
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policy that explains with what other entities Telsa may share a

user’s personal data. Nothing in the privacy policy or the Order

and Purchase Agreements suggests that this description of the term

“affiliates” provides a definition that applies to the entirely

separate question of the scope of the arbitration clauses.

     Plaintiffs    also      point    to     Tesla’s    purchaser      financing

agreement, which includes an arbitration clause that applies to

certain claims “between the [purchaser] and [Tesla] or [its]

employees, agents, successors, or assigns.” Dkt. 59-1 at 5. In

Plaintiffs’ view, this language shows that Tesla knew how to write

an arbitration clause that covers Musk and chose not to do so in

the Order and Purchase Agreements. Plaintiffs add that the Order

and Purchase Agreements expressly “override[]” any arbitration

clause that exists between the parties in a financing agreement.

Dkt. 50-1 at 4. But Tesla’s use of different language in a separate

contract   says   little     about   the   parties’     intent    in   requiring

arbitration of disputes involving Tesla’s “affiliates” in the

Order and Purchase Agreements. Cf. Cortés-Ramos v. Martin-Morales,

894 F.3d 55, 60 (1st Cir. 2018) (concluding that the defendant was

not a third-party beneficiary of an arbitration clause because the

agreement that included the clause specifically referred to the

defendant in a different provision). The key question is still

what the term “affiliate” means and, as discussed above, Musk fits

squarely within that term’s customary meaning. Musk is a third-

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party beneficiary of the arbitration clauses between Plaintiffs

and Tesla and can therefore compel Plaintiffs to arbitrate their

claims again him individually.

           2.   Agency

     Alternatively, Musk contends that he may enforce Plaintiffs’

arbitration agreements with Tesla under an agency theory. He argues

that an agent generally may enforce his principal’s arbitration

agreement when sued for acts within the scope of the agency. He

asserts that while Plaintiffs plead their claims against him

individually, those claims actually rest on actions he took in his

capacity as Tesla’s CEO.

     The caselaw on whether an agent may enforce an arbitration

agreement to which his principal is a party is not uniform.

Generally, “state law governs the inquiry as to whether a non-

party to an arbitration agreement can assert the protection of the

agreement.” Grand Wireless, Inc. v. Verizon Wireless, Inc., 748

F.3d 1, 12 (1st Cir. 2014). Under California, Illinois, and New

York law, which govern some of the named plaintiffs’ Order and

Purchase   Agreements,       an     agent    may     enforce        his   principal’s

arbitration agreement when the claims against the agent concern

conduct undertaken within the scope of the agency relationship.

See, e.g., Coons v. Yum! Brands, Inc., 672 F. Supp. 3d 626, 636

(S.D. Ill. 2023); Soltero v. Precise Distrib., Inc., 322 Cal. Rptr.

3d 133, 142-43 (Cal. Ct. App. 2024); Hirshfield Prods., Inc. v.

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Mirvish, 673 N.E.2d 1232, 1233 (N.Y. 1996). As Musk notes, however,

the Massachusetts Supreme Judicial Court (“SJC”) has rejected the

notion that “a nonsignatory to an arbitration provision can enforce

the provision solely because it is an agent of a signatory.”

Landry, 149 N.E.3d at 787. Under Massachusetts law, which governs

at   least    two    of   the    named      plaintiffs’       Order    and     Purchase

Agreements,    an    agent      can    enforce     his    principal’s     arbitration

agreement if “the claim against the agent arose ‘under the contract

in question.’” Id. (quoting Machado v. System4 LLC, 28 N.E.3d 401,

408 n.11 (Mass. 2015)). 5

      Furthermore, in Grand Wireless, the First Circuit recognized

“a federal rule designed to protect the federal policy favoring

arbitration” that entitles an agent “to the protection of h[is]

principal’s arbitration clause when the claims against h[im] are

based on h[is] conduct as an agent.” 748 F.3d at 11. Under this

rule -- which, as just noted, is followed by many states -- an

employee     may    enforce     an    arbitration        agreement    signed    by    his

employer when “the underlying action in the dispute was undertaken

in the course of the employee’s employment.” Id. This rule “is

necessary . . . because a corporate entity or other business can

only operate through its employees and an arbitration agreement




5 The parties have not cited cases from the remaining states whose
law applies under the Order and Purchase Agreements signed by the
named plaintiffs.
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would be a meaningless arrangement if its terms did not extend to

them.” Id. Put differently, a plaintiff could “avoid the practical

consequences of having signed an agreement to arbitrate” by suing

a corporate entity’s “officers, directors or employees.” Id. But

the First Circuit has declined to decide whether this “uniform

federal rule” favoring arbitration trumps the general rule that

state law governs whether a nonsignatory may enforce an arbitration

agreement. Id. at 12-13.

     This case warrants application of the widely accepted rule

that an employee may enforce an arbitration agreement signed by

his employer when his allegedly unlawful conduct was within the

scope of his employment. While the arbitration clauses at issue

here do not specifically mention “employees” or “agents,” they

evince the parties’ intent that claims of the sort Plaintiffs

assert would be subject to arbitration. See Ouadani, 876 F.3d at

37 (explaining that courts applying an agency theory rely on the

“signatory principal[’s] intent to protect [its] agents by means

of the arbitration provision[]”). The arbitration clauses broadly

cover “any dispute between [the purchaser] and Tesla, Inc. and its

affiliates” and “any dispute arising out of or relating to any

aspect of the relationship between [the purchaser] and Tesla.”

Dkt. 50-1 at 4. Fundamentally, Plaintiffs’ claims are all disputes

with Tesla about the company’s marketing of its EVs, and they

relate to the relationship between Plaintiffs and Tesla. See Grand

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Wireless,    748   F.3d    at   10-11    (discerning      an     intent    to    allow

employees to benefit from their employer’s arbitration agreement

where the agreement covered “any controversy or claim arising out

of or relating to” the contract). The arbitration clauses also

explicitly     encompass     “claims      arising     before      th[e    Order       or

Purchase] Agreement, such as claims related to statements about

[Tesla’s] products.” Dkt. 50-1 at 4. Given this clear intent to

require arbitration of claims relating to Tesla’s marketing of its

EVs, it is illogical to think that the parties to the Order and

Purchase Agreements intended for a purchaser to be able to sue

whichever Tesla employee made the statement at issue. 6

     Moreover,     Plaintiffs’         claims   concern    conduct        that     Musk

undertook within the scope of his employment as Tesla’s CEO. An

employee’s conduct “is within the scope of employment if it is of

the kind he is employed to perform; if it occurs substantially

within   the   authorized       time    and   space   limits;      and    if     it   is

motivated, at least in part, by a purpose to serve the employer.”

Smith v. Jenkins, 732 F.3d 51, 73 (1st Cir. 2013) (quoting Wang


6 Plaintiffs argue that a nonsignatory must always show with
“special clarity” that the parties to the arbitration agreement
intended to allow him to enforce the agreement, regardless of the
contractual theory he is invoking. The cases Plaintiffs cite,
however, uniformly discuss the need for special clarity in the
context of a third-party beneficiary theory. See Hogan, 914 F.3d
at 39; Cortés-Ramos, 894 F.3d at 58; InterGen N.V. v. Grina, 344
F.3d 134, 146 (1st Cir. 2003); McCarthy, 22 F.3d at 362. Plaintiffs
do not cite any caselaw applying a special clarity requirement
under an agency theory.
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Labs, Inc. v. Bus. Incentives, Inc., 501 N.E.2d 1163, 1166 (Mass.

1986)). While Plaintiffs have named Musk as a defendant in his

individual capacity and allege in a conclusory fashion that he

“acted beyond the scope of his authority at Tesla,” Dkt. 40 ¶ 14,

determining “whether a claim is asserted against a party in his

corporate or personal capacity ‘is ultimately a function of the

facts, not of pleading techniques alone.’” García Monagas v. De

Arellano, 674 F.3d 45, 52 n.9 (1st Cir. 2012) (quoting McCarthy,

22   F.3d    at    360).     Here,    Plaintiffs       allege      that    Musk     made

misrepresentations about the driving ranges of Tesla EVs on company

earnings    calls     and    in    company      product    announcements.          Other

misrepresentations         occurred   on     Musk’s    personal     X     page,    which

Plaintiffs claim is a primary platform for Tesla marketing. See

Dkt. 40 ¶¶ 40-41. And Plaintiffs describe other aspects of the

allegedly fraudulent scheme that Musk took in his capacity as CEO,

including directing Tesla to make misrepresentations about its

EVs’ driving range and to rig its EVs’ dashboard meters to conceal

the scheme. The facts underlying Plaintiffs’ claims make clear

that they are suing Musk for acts he took within the scope of his

employment with Tesla.

     Plaintiffs rely heavily on the First Circuit’s decision in

McCarthy and the SJC’s decision in Landry in arguing that Musk

cannot enforce the arbitration clauses in the Order and Purchase

Agreements        under     an    agency     theory,      but   both       cases     are

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distinguishable. In McCarthy, the First Circuit refused to allow

an agent of a corporation to enforce the corporation’s arbitration

agreement primarily on the ground that the agreement “fail[ed] to

indicate the corporate signatory’s intention to protect employees

through arbitration.” 22 F.3d at 357. Among other things, the First

Circuit relied on the limited scope of the arbitration agreement,

which only covered disputes “arising under” the contract and, thus,

did not suggest an intent to protect nonsignatory agents who are

affiliates. See id. at 358-59. The arbitration clause in the Order

and    Purchase     Agreements     is    substantially       broader    than       the

agreement at issue in McCarthy, as it applies to all claims

“arising out of or relating to any aspect of the relationship

between [the purchaser] and Tesla.” Dkt. 50-1 at 4. This clause

uses broader language than “arising under” and evinces an intent

to require arbitration of disputes beyond those simply alleging

breach of contract. Moreover, the arbitration clause applies to

all “affiliates” of Tesla. Id. For these reasons, the Court

concludes    that    as   a    matter   of    contract     interpretation,         the

arbitration clause should be construed broadly to apply to Musk.

      Plaintiffs’ reliance on the SJC’s decision in Landry is

similarly     misplaced.       While    the    SJC   did   articulate      a      rule

restricting the agency theory to circumstances where the claims

arise under the contract containing the arbitration clause, see

Landry, 149 N.E.3d at 787, it did so under materially different

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facts than those at issue here. In Landry, a third-party debt

collector sought to enforce an arbitration agreement in a contract

between the plaintiff and the company to which he originally

incurred a debt. See id. at 783-84, 786-87. In rejecting this

effort, the SJC noted that the plaintiff did not allege any

misconduct by the rental car company, that the debt collector’s

actions were not related to the rental contract, and that the debt

collector’s alleged misconduct was outside the scope of its agency

relationship with the rental car company. See id. at 788. Here, by

contrast, the amended complaint alleges intertwined misconduct by

Musk and Tesla, Plaintiffs’ claims relate to their purchases of

Tesla vehicles, and Musk’s alleged misconduct was within the scope

of his employment. In other words, Plaintiffs’ claims against Musk

individually, unlike the suit against the debt collector in Landry,

are an effort to circumvent binding arbitration agreements.

     In short, while a nonsignatory sometimes may not enforce an

arbitration agreement, the agency exception serves to prevent the

type of end run around an arbitration agreement that Plaintiffs

are attempting here. See Grand Wireless, Inc., 748 F.3d at 11.

Because Plaintiffs’ claims concern conduct undertaken by Musk

within the scope of his employment as Tesla’s CEO, he may enforce

Tesla’s arbitration agreements with Plaintiffs.




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     C.   Disposition of Claims Against Musk Individually

     For the foregoing reasons, the Court allows Musk’s motion to

compel arbitration of the claims brought against him individually

by all Plaintiffs except Varsha Luthra. Under § 3 of the FAA, when

a court determines that a dispute is subject to arbitration, it

“shall on application of one of the parties stay the trial of the

action until such arbitration has been had in accordance with the

terms of the agreement.” 9 U.S.C. § 3. This provision “compels the

court to stay the proceeding” if “a party requests a stay pending

arbitration.”   Smith v.     Spizzirri,    601   U.S.   472,    478   (2024).

Neither party has made such a request in this case. 7 Nonetheless,

the Court concludes that staying the claims referred to arbitration

is warranted to facilitate the prompt resolution of those claims

in the proper forum. See id. at 477-78 (explaining that a stay

serves the structure and purpose of the FAA).

III. Motion to Dismiss for Lack of Personal Jurisdiction

     Finally, the Court addresses Musk’s motion to dismiss the

claims against him in his capacity as trustee of the Musk Trust

for lack of personal jurisdiction under Rule 12(b)(2).




7 Musk requests a stay of any nonarbitrable claims if the Court
determines that only some of Plaintiffs’ claims are subject to
arbitration. He does not, however, propose a resolution for the
claims for which the Court compels arbitration.
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     A.   Personal Jurisdiction Standard

     When, as here, a plaintiff invokes a federal court’s diversity

jurisdiction, the court “act[s] as ‘the functional equivalent of

a state court sitting in the forum state.’” Rosenthal, 101 F.4th

at 95 (quoting Astro-Med, Inc. v. Nihon Kohden Am., Inc., 591 F.3d

1, 8 (1st Cir. 2009)). The federal court therefore has personal

jurisdiction over a defendant if his “contacts with the state

satisfy both the state’s long-arm statute as well as the Due

Process Clause of the Fourteenth Amendment.” Vapotherm, Inc. v.

Santiago, 38 F.4th 252, 258 (1st Cir. 2022). The plaintiff bears

the burden of showing that both requirements are satisfied. See

Motus, LLC v. CarData Consultants, Inc., 23 F.4th 115, 121 (1st

Cir. 2022).

     Musk argues that exercising personal jurisdiction over him in

his capacity as trustee of the Musk Trust is inconsistent with

both the Massachusetts long-arm statute and the Due Process Clause.

For the reasons discussed below, the Court agrees with Musk’s

argument regarding the Due Process Clause and, thus, does not

address whether the Massachusetts long-arm statute provides for

jurisdiction over Musk in this capacity. See Rosenthal, 101 F.4th

at 95 (taking this approach); Ward v. AlphaCore Pharma, LLC, 89

F.4th 203, 209 (1st Cir. 2023) (same).

     The Due Process Clause requires “that a defendant ‘have

certain minimum contacts with [the forum state] such that the

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maintenance of the suit does not offend “traditional notions of

fair play and substantial justice.”’” Rosenthal, 101 F.4th at 95

(alteration in original) (quoting Int’l Shoe Co. v. Washington,

326 U.S. 310, 316 (1945)). A defendant’s contacts with the forum

state     may    support        either    general     or     specific       personal

jurisdiction, see id., but Plaintiffs argue only that the Court

has specific jurisdiction in this case. A plaintiff “must satisfy

three     criteria”     to   establish     “specific       jurisdiction      over     a

defendant”:

        First, the plaintiff’s claim must directly arise from or
        relate to the defendant’s activities in the forum.
        Second, the defendant’s forum-state contacts must
        represent a purposeful availment of the privilege of
        conducting activities in that state. Third, the exercise
        of specific jurisdiction in the forum must be reasonable
        under the circumstances.

Id. (cleaned up).

        The   parties    both    invoke    the   prima      facie    approach       for

determining whether Plaintiffs have satisfied their burden of

establishing     personal       jurisdiction.     Under     this    approach,       “an

inquiring court must ask whether the plaintiff has ‘proffer[ed]

evidence which, taken at face value, suffices to show all facts

essential to personal jurisdiction.’” Id. at 94 (alteration in

original) (quoting Chen v. U.S. Sports Acad., Inc., 956 F.3d 45,

54 (1st Cir. 2020)). “To establish such a showing, the plaintiff

must ‘go beyond the pleadings and make affirmative proof.’” Id.

(quoting United Elec. Radio & Mach. Workers of Am. (UE) v. 163

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Pleasant St. Corp., 987 F.2d 39, 44 (1st Cir. 1993)). The court

draws     “the    relevant     facts     from   ‘the   pleadings       and    whatever

supplemental filings (such as affidavits) are contained in the

record, giving credence to the plaintiff's version of genuinely

contested facts.’” Id. (quoting Baskin-Robbins Franchising LLC v.

Alpenrose Dairy, Inc., 825 F.3d 28, 34 (1st Cir. 2016)). The court

need     not,    however,      “credit     conclusory     allegations         or     draw

farfetched inferences.” Id. (quoting Ticketmaster-N.Y., Inc. v.

Alioto, 26 F.3d 201, 203 (1st Cir. 1994)).

        B.    Due Process Analysis

        Plaintiffs’ efforts to establish personal jurisdiction over

Musk in his capacity as trustee of Musk Trust rest on their

allegations that Musk acted in that capacity to cause Tesla to

make misrepresentations about its EVs’ driving ranges and to rig

dashboard range meters. These aspects of Musk’s fraudulent scheme,

Plaintiffs continue, targeted Massachusetts consumers and resulted

in harm within the forum state. Musk responds that this argument

relies on actions he took in other capacities and that Plaintiffs

have    not     pointed   to    any    contacts   he   has    with    Massachusetts

specifically in his capacity as trustee of the Musk Trust.

        The Court agrees with Musk that Plaintiffs have not shown

sufficient contacts between Massachusetts and the Musk Trust or

Musk    acting     in   his    capacity    as   trustee      to    support    personal

jurisdiction.       The   necessary       “relationship      must     arise    out     of

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contacts that the ‘defendant himself’ creates with the forum State”

rather than any contacts that the plaintiff or a third party has

with the forum. Walden v. Fiore, 571 U.S. 277, 284 (2014) (quoting

Burger   King   Corp. v.     Rudzewicz,     471   U.S.    462,     475   (1985)).

Moreover,   “[i]n      determining    whether     a      court    has    personal

jurisdiction    over    a    party,   it    is    necessary       to     determine

jurisdiction as to the party in each capacity he or she is being

sued.” Steego Corp. v. Ravenal, 830 F. Supp. 42, 50 (D. Mass.

1993). Thus, the analysis of personal jurisdiction must focus on

contacts that Musk has with Massachusetts in his capacity as

trustee of the Musk Trust and not as an individual or as CEO of

Tesla. Cf. Mojtabai v. Mojtabai, 4 F.4th 77, 89-90 (1st Cir. 2021)

(deeming a person to be two separate defendants for purposes of

personal jurisdiction when she was sued as an individual in one

claim and as executor of an estate in another).

     As Musk points out, the only evidence in the record or

specific factual allegations in the amended complaint about the

Musk Trust are that it holds the Tesla stock owned by Musk, the

company’s largest shareholder, and that Musk, a Texan citizen, is

the sole trustee. See Dkt. 40 ¶¶ 26, 30; Dkt. 61-1 at 16; Dkt. 61-

3 at 7; Dkt. 61-4 at 8; Dkt. 61-5 at 53. Those facts by themselves

do not suggest any contacts between Massachusetts and the Musk

Trust or Musk acting as trustee.



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        Plaintiffs   stress     that    Musk   used   his   control       of    Tesla

generally -- and his Tesla shares specifically -- to cause the

company to misrepresent its EVs’ driving ranges and to rig range

meters,     which    amounted    to     misconduct    targeted      in     part     to

Massachusetts consumers. See Dkt. 40 ¶¶ 1, 7, 14, 28-29, 45, 62.

Even assuming that Plaintiffs’ allegations suffice to show that

Musk and Tesla directed their fraudulent scheme at Massachusetts

consumers, Plaintiffs have not adequately tied that conduct to

Musk specifically acting in his capacity as trustee of the Musk

Trust. Musk’s control over Tesla may derive in part from his

substantial stock ownership via the Musk Trust. But Plaintiffs do

not plead any specific actions that Musk took in his capacity as

trustee that relate to the fraudulent scheme, such as shareholder

votes by Musk or transactions involving the Musk Trust. 8 Instead,

Plaintiffs describe directives made by Musk in his capacity as

Tesla’s CEO. See, e.g., Dkt. 40 ¶ 62 (alleging that “Musk directed

Tesla     to   prominently      display . . .     inflated       ranges    on       the

website”), ¶ 78 (alleging that “Musk directed Tesla’s engineers to

alter the software controlling the range meter”). The amended

complaint’s     allegations      that   Musk   took   these      actions       in   his


8 Plaintiffs assert that the amended complaint alleges that Musk
“voted his shares” to cause Tesla to engage in the fraudulent
conduct. Dkt. 60 at 1. But the paragraph in the amended complaint
that Plaintiffs cite for this allegation says only that Musk “used
his near-total control of Tesla to cause it to commit the same
misconduct.” Dkt. 40 ¶ 1.
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capacity as trustee or using his Tesla shares need not be credited

because they are wholly conclusory. See Rosenthal, 101 F.4th at

94;   Vapotherm,      Inc.,    38     F.4th   at     258.   As       a   result,    these

allegations      do   not   demonstrate       any    relevant        contacts     between

Massachusetts and Musk in his capacity as trustee of the Musk

Trust.

        The only apparent contact between Massachusetts and the Musk

Trust is that Musk’s fraudulent scheme resulted in increased Tesla

sales     to    Massachusetts       consumers       that    may      have     indirectly

benefited the Musk Trust via a higher Tesla stock price. This

contact is too attenuated to support personal jurisdiction over

Musk as trustee. See Walden, 571 U.S. at 286 (explaining that

personal       jurisdiction    must    rest    on    more    than        “a   defendant’s

‘random, fortuitous, or attenuated contacts” with the forum state

(quoting Burger King, 471 U.S. at 475)). For a contact with the

forum state to represent purposeful availment, that contact must

“result proximately from [the defendant’s] own actions,” and “the

defendant’s conduct and connection with the forum State [must be]

such that he should reasonably anticipate being haled into court

there.’” Rosenthal, 101 F.4th at 96 (second alteration in original)

(quoting Chen, 956 F.3d at 59). The indirect benefit the Musk Trust

accrues from Tesla sales in Massachusetts is not attributable to

its own conduct but, rather, to the actions of Tesla and other



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third    parties     in   selling    the    company’s     EVs       to    Massachusetts

consumers.

        Plaintiffs have not shown that Musk in his capacity as trustee

of   the     Musk   Trust    has    any    “meaningful     ‘contacts,           ties,    or

relations’” with Massachusetts. Cossaboon v. Me. Med. Ctr., 600

F.3d 25, 32 (1st Cir. 2010) (quoting Burger King, 471 U.S. at 471–

72). The Court therefore lacks personal jurisdiction over the

claims against Musk in this capacity.

        C.    Jurisdictional Discovery

        As a last resort, Plaintiffs ask for jurisdictional discovery

if the Court deems the current record inadequate to support

personal jurisdiction over Musk in his capacity as trustee of the

Musk    Trust.      “[J]urisdictional       discovery     is    not        available     on

demand.” Motus, LLC, 23 F.4th at 128. Rather, a plaintiff seeking

jurisdictional discovery must both establish “a colorable claim”

of personal jurisdiction and “show that it ‘has been diligent in

preserving [its] rights.’” Id. (alteration in original) (quoting

United States v. Swiss Am. Bank, Ltd., 274 F.3d 610, 625 (1st Cir.

2001)).      This   latter    requirement        “includes     the       obligation      to

present facts to the court which show why jurisdiction would be

found if discovery were permitted.” Swiss Am. Bank, 274 F.3d at

626.

        Jurisdictional       discovery     is   not   warranted          in   this   case.

Plaintiffs’ weak arguments for personal jurisdiction over Musk in

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his capacity as trustee of the Musk Trust do not sketch out even

a   colorable   claim   of    jurisdiction.    Moreover,       Plaintiffs       seek

jurisdictional discovery in a conclusory two-sentence footnote

that “contain[s] no indication of what facts might be developed

through discovery.” Motus, LLC, 23 F.4th at 128. Such a “barebones”

request is insufficient to justify jurisdictional discovery. Id.;

see Swiss Am. Bank, 274 F.3d at 626-27. 9

                                    ORDER

      Accordingly, Musk’s motions to dismiss for lack of standing

(Dkt. 44 and 46) are ALLOWED as to the claims brought by Plaintiff

Varsha Luthra and otherwise DENIED. For the claims brought by the

remaining plaintiffs, Musk’s motion to compel arbitration of the

claims against him individually (Dkt. 48) is ALLOWED, and those

claims are STAYED. Musk’s motion to dismiss the claims against him

as trustee of the Musk Trust for lack of personal jurisdiction

(Dkt. 46) is ALLOWED. The Court DENIES as moot Musk’s motions to

dismiss for failure to state a claim (Dkts. 44 and 46).



SO ORDERED.

                                    /s/ PATTI B. SARIS
                                    Hon. Patti B. Saris
                                    United States District Judge


9 Because all of Plaintiffs’ claims are either dismissed on
jurisdictional grounds or referred to arbitration, the Court need
not address Musk’s arguments that Plaintiffs have failed to state
a claim under Rule 12(b)(6).
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